Case 3:17-cv-00211-DJH-CHL Document 49 Filed 01/15/19 Page 1 of 1 PageID #: 203




                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF KENTUCKY
                                 LOUISVILLE DIVISION

  RONALD CHAD ALLEN,                                                                   Plaintiff,

  v.                                                    Civil Action No. 3:17-cv-211-DJH-CHL

  EQUIFAX INFORMATION SERVICES, LLC, et al.,                                        Defendants.

                                            * * * * *

                                             ORDER

        Plaintiff Ronald Chad Allen and Defendant Credit One Bank, N.A. have filed a stipulation

 of dismissal with prejudice as to Allen’s claims against Credit One Bank.       (Docket No. 48)

 Accordingly, and the Court being otherwise sufficiently advised, it is hereby

        ORDERED that Allen’s claims against Credit One Bank are DISMISSED with prejudice.

 All claims having been resolved (See D.N. 24; D.N. 32; D.N. 40; D.N. 43) this action stands

 DISMISSED and is STRICKEN from the Court’s active docket.

         January 15, 2019




                                                           David J. Hale, Judge
                                                        United States District Court
